               Case 5:13-cr-50002-TLB Document 99                           Filed 09/06/13 Page 1 of 6 PageID #: 525
~AO 245B      (Rev. 06/05) Judgment in a Criminal Case
              Sheet 1


                                         UNITED STATES DISTRICT COURT
                       WESTERN                                   District of                                ARKANSAS
          UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                              V.
                                                                         Case Number:                      5: 13CR50002-004
                    MARIA MOLINA                                         USMNumber:                        11252-010

                                                                         Victoria Hargis Bruton
                                                                         Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)         One (l) of the Superseding Indictment on April 9, 2013
D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                       Offense Ended              Count
21 U.S.C. §§ 841(a)(l)             Conspiracy to Distribute Methamphetamine                                  12/06/2012                  1
and 846




       The defendant is sentenced as provided in pages 2 through          _---:::6__ of this judgment, with the court considering the
guidelines as non-binding and advisory only.

D The defendant has been found not guilty on count(s)
X Count(s)      Two (2) and Forfeiture Allegation of the Superseding Indictment                    are dismissed on the motion of the government.

         It is ordered that the defendant must notifY the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defenaant must notifY the court and United States attorney of material changes in economIc circumstances.

                                                                         September 5, 2013
                                                                         Date of Imposition of Judgment


                                                                         /S/ Jimm Lany Hendren
                                                                         Signature of Judge




                                                                         Honorable Jimm Larry Hendren, United States District Judge
                                                                         Name and Title of Judge


                                                                         September 6, 2013
                                                                         Date
                  Case 5:13-cr-50002-TLB Document 99                         Filed 09/06/13 Page 2 of 6 PageID #: 526
 AO 2458       (Rev. 06/05) Judgment in Criminal Case
               Sheet 2 Imprisonment
                                                                                                      Judgment   Page _-,2,,--_ of   6
  DEFENDANT:                      MARIA MOLINA
  CASE NUMBER:                    5: 13CR5 0002-004


                                                              IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
  total term of:     forty-eight (48) months




   o       The court makes the following recommendations to the Bureau of Prisons:




   X       The defendant is remanded to the custody of the United States Marshal.

   o       The defendant shall surrender to the United States Marshal for this district:
           o     at    __________ 0 a.m.                         o p.m.       on
           o     as notified by the United States Marshal.

         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         o       before 2 p.m. on

         o       as notified by the United States Marshal.
         o       as notified by the Probation or Pretrial Services Office.


                                                                     RETURN
  I have executed this judgment as follows:




        Defendant delivered on                                                             to
 a,_________________ , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL

                                                                             By _______________________________________
                                                                                                DEPUTY UNITED STATES MARSHAL




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 AO 245B         Case
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                    06/05) Judgment in a Criminal Case   Document 99         Filed 09/06/13 Page 3 of 6 PageID #: 527
              Sheet 3    Supervised Release
                                                                                                           Judgment-Page _.:::;..3_ of          6
 DEFENDANT:                   MARIA MOLINA
 CASE NUMBER:                 5: 13CR50002-004
                                                           SUPERVISED RELEASE
    Defendant is placed on supervised release for a tenn of:         3 years                               which tenn shall commence
 immediately upon her release from imprisonment, and which shall be served under the following conditions:


 1. Within 72 hours of release from custody of the Bureau of Prisons, the defendant shall report in person to the probation office in the
    district to which the defendant is released.

 2. The defendant shall not commit another federal, state or local crime; the defendant shall be prohibited from possessing any fireann or
    other dangerous weapon; and the defendant shall not use, possess, or have anything at all to do with any controlled substance.

 3. The defendant shall comply with the mandatory drug testing provisions of 18 U.S.C. § 3583(d).

 4. The defendant shall comply with the DNA collection provisions of 18 U.S.C. § 3583(d).

 5. Ifthis judgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.

 6. The defendant shall comply with the Standard Conditions of Supervised Release as recommended b:x the United States Sentencing
 Commission and as set out fielow on this page of the judgment, as well as any additional conditions on the attached page.




                                         STANDARD CONDITIONS OF SUPERVISION
   I)      the defendant shall not leave the judicial district without the pennission of the court or probation officer;
   2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted pennission to do so by the probation officer;
  10)      the defendant shall penn it a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any
           contraband observed in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the d!!fe.ndant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the
           pennlSSlon of the court; and
  13)      the defendant shall- as directed by the probation officer notify third parties of risks that may be occasioned by the defendant's
           criminal record or personal history or characteristics and shall pennit the probation officer to make such notifications and to confirm
           the defendant's compliance with such notification requirement.




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   AO 245B     Case
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                          Judgment in a Criminal Case   Document 99   Filed 09/06/13 Page 4 of 6 PageID #: 528
             Sheet 3C - Supervised Release
                                                                                           Judgment-Page _.:t4_ of        6
   DEFENDANT:               MARIA MOLINA
   CASE NUMBER:             5: 13CRS0002-004

                                          SPECIAL CONDITIONS OF SUPERVISION
   The defendant shall submit her person, residence, place of employment and vehicle to a search conducted by the U.S.
   Probation Officer at a reasonable time and in a reasonable manner based on a reasonable suspicion of evidence of any
   violation of conditions of supervised release might be thereby disclosed.




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AO 245B      Case
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                06/05) Judgment in a Criminal Case   Document 99              Filed 09/06/13 Page 5 of 6 PageID #: 529
          Sheet 5 - Criminal Monetary Penalties
                                                                                                         Judgment---Page _",,-5_ _ of       6
DEFENDANT:                       MARlA MOLINA
CASE NUMBER:                     5: 13CR50002-004
                                            CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                   Assessment                                             Fine                                Restitution
TOTALS           $ 100.00                                               $ 10,000.00                         $ -0­


o The determination of restitution is deferred until ---. An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     Ifthe defendant makes a partial payment, each payee shall receive an approximately proportioned -Eaynlent, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is paId.

Name of Payee                               Total Loss·                          Restitution Ordered                     Priority or Percentafle




TOTALS                            $ ______                 ---'°;;,..        $--------~o~

o    Restitution amount ordered pursuant to plea agreement $

o    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in full before the
     fifteenth day after the date ofthe judgment, pursuant to 18 U.S.C. § 3612(1). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U .S.C. § 3612(g).

X    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     X the interest requirement is waived for the         X fine          0 restitution.
     o the interest requirement for the        o fine      0       restitution is modified as follows:



* Findings for the total amount oflosses are required under Chapters 109A, 110, 110A, and 113A ofTitle 18 for offenses committed on or after
Septemoer 13, 1994, but before Apri123, 19%.
AO 2458
               Case 5:13-cr-50002-TLB Document 99
           (Rev. 06/05) Judgment in a Criminal Case
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           Sheet 6 - Schedule of Payments
                                                                                                          Judgment ­   Page _..;;.6_ of        6
DEFENDANT:                  MARIA MOLINA
CASE NUMBER:                5: 13CR50002-004

                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties are due as follows:

A     X    Lump sum payment of $            10, I 00.00       due immediately, balance due

                 not later than _ _ _ _ _ _ _ _ _ _ ,or
           X     in accordance     D C, D D, D E, or                         X F below; or

B     D    Payment to begin immediately (may be combined with             DC,         D D, or      D F below); or
C     D    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date ofthis judgment; or

D     0    Payment in equal                (e.g., weekly, monthly, quarterly) instalhnents of $                     over a period of
          _ _ _ _ _ (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     D Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     X    Special instructions regarding the payment of criminal monetary penalties:
           If not paid immediately, any unpaid financial penalty imposed shall be paid during the period of imprisonment in quarterly
           installments of$25.00 or 10% ofthe defendant's quarterly earnings, wfiichever is greater. After imprisonment, any unpaid financial
           penalty shall be paid during the period of supervised release in monthly installments of$175.00 or 10% of the defendant's net
           monthly household income, whichever is greater, with the entire balance to be paid in full no later than one month prior to the end of
           the perIod of supervised release.


Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monet~ penalties is due during
imprisonment. All cnminal monetary penalties, except tbose payments made througli the Federal Bureau of PrIsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payt!1ents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
